 

Case 2:10-cv-14360-DPH-MKM ECF No. 374

Clerk of Court

The United States District Court

For The Eastern District of Michigan
Southern Division

U.S. Courthouse

231 W. Lafayette Blvd.

Detroit, Michigan 48226

The Shane Group, Inc.et al,
Plaintiffs,
v. Blue Cross Blue Shield of Michigan,

Defendant .

 

filed 11/05/19 PagelD.19060 Page CO

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NOV -5 2019

CLERK'S OFFICE
DETROIT

Case No. 2:10-cv-14360-DPH-MKM

Judge Denise Page Hood

REQUEST FOR THE COURT AND CLERK OF THE COURT TO PLACE
THE OBJECTOR’S MOTION TO PROCEED IN FORMA PAUPERIS ON
THE DOCKET WHICH IS INTENTIONALLY INETRFERING WITH THE
COURT’S MACHINERY AND WOULD HELP CAUSE AN ILLEGAL

DISMISSAL OF THE APPEAL

Page 1 of 3
 

Case 2:10-cv-14360-DPH-MKM ECF No. 374 filed 11/05/19 PagelD.19061 Page 2of5

Two copies of the objection (Doc 369) two copies of a motion to proceed informa
pauperis and two copies of the sealed Form 4 were in the envelope and copies were
mailed to class counsel. The envelope was received and the objection posted to the
docket on 10-25-19 but the motion to proceed in forma pauperis has apparently
been hidden. See Doc 369 pg 11 under Certificate of Service the first four lines.

I called the clerk office early afternoon on Wednesday 10-30-19 and spoke to the
clerk’s office and was then transferred to her supervisor where I left a detailed
message asking that individual to find the missing document form from the clerk or
the court, please place it on the docket and left my phone number. There is no

contact as of today 11-1-19 and the informa motion is still not on the docket.

That document should have been placed on the docket when the objection posted
back on October 25, 2019. No one has the right to withhold the motion to proceed
in forma pauperis off of the docket to help cause the case to be dismissed for not
paying the fee or for not filing an informa pauperis motion. I demand the form be

placed their immediately.

I hereby certify under penalty of perjury that all of the above is true and accurate

to the best of my knowledge.

Page 2 of 3

 
Case 2:10-cv-14360-DPH-MKM ECF No. 374 filed 11/05/19 PagelD.19062 Page 3of5

istopher Andrews, Pro se objector P.O. Box 530394 Livonia, MI 48153-0394

T. 248-635-3810 E. caaloa@gmail.com Dated 11-1-19
Certificate of Service

I hereby certify under penalty of perjury that on this day November 01, 2019 I
mailed two copies of this document (one is a chamber’s copy) to the Clerk of the
Court via first class mail to the address on page one, a copy was sent to class

counsel via first class mail and a copy was sent to the Sixth Circuit via Priority

il which was attached to a motion for them to review.
hristopher Andrews, Pro yector, P.O. Box 530394 Livonia, MI 48153-0394
T. 248-635-3810 E. caaloa@gmail.com

Attention; Daniel Hedlund, Gustafson Gluek Pllc Canadian Pacific Plaza 120

   

South Sixth Street, Suite 2600 Minneapolis, MN 55402

Office of the Clerk

U.S. Court of Appeals for the Sixth Circuit
100 E. Fifth Street

Cincinnati, Ohio 45202-3988

Page 3 of 3
 

Case 2:10-cv-14360-DPH-MKM ECF No. 374 filed 11/05/19 PagelD.19063 Page4of5

 

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Case 2:10-cv-14360-DPH-MKM ECF No. 374 filed 11/05/19 PagelD.19064 Page5of5
